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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,
v.                                                       Case No. 2:17-cr-22
                                                         HON. PAUL L. MALONEY
JESSICA LYNN TOBIAS,

                      Defendant.
_______________________________/

                                   ORDER OF DETENTION

         Defendant appeared before the undersigned on October 12, 2017 on a bond

violation after her removal from in-patient treatment. Defendant reserved the right to

request a hearing if alternative treatment can be found

         IT IS HEREBY ORDERED that defendant shall be detained pending further

proceedings.

         IT IS SO ORDERED.

                                            /s/ Timothy P. Greeley
                                           TIMOTHY P. GREELEY
                                           UNITED STATES MAGISTRATE JUDGE
Dated: October 13, 2017
